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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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 AGNIESZKA WASILEWSKI,
                                                                       Case No.: 25-CV-01642(VSB)

                                                      Plaintiff,

                          -against-

                                                                       FIRST AMENDED COMPLAINT

 SHORENSTEIN INVESTMENT ADVISERS LLC,
 SHORENSTEIN PROPERTIES LLC, SRI ELEVEN
                                                                       JURY TRIAL DEMANDED
 1407 BROADWAY OPERATOR LLC,
 SHORENSTEIN REALTY SERVICES EAST LLC,
 SHORENSTEIN REALTY SERVICES, L.P.,
 ALLIED UNIVERSAL RISK ADVISORY AND
 CONSULTING SERVICES, INC.,



                                                  Defendants.

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        Agnieszka Wasilewski, by and through her attorney, Romano Law PLLC, for her

Complaint against Shorenstein Investment Advisers LLC, Shorenstein Properties LLC, SRI

Eleven 1407 Broadway Operator LLC, Shorenstein Realty Services East LLC, Shorenstein Realty

Services, L.P., (collectively, “Shorenstein”), and Allied Universal Risk Advisory And Consulting

Services, Inc. (“Allied”), alleges, on knowledge as to her own actions, and otherwise upon

information and belief, as follows:
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                                 PRELIMINARY STATEMENT
       1. Plaintiff Agnieszka Wasilewski brings this action to recover damages for the severe

emotional distress and related physical injuries she suffered during and after she was sexually

assaulted at a building that was owned and operated by Shorenstein and where Allied was the

security contractor in charge of ensuring the safety of the property.



                                         JURISDICTION
       2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1), in that

this is a civil action between citizens of New York and Delaware, and the amount in controversy

exceeds $75,000, exclusive of interest and costs.



                                              VENUE
       3. Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that the events or

omissions giving rise to the claim occurred in this district.



                                             PARTIES
       4. Ms. Wasilewski is an individual who resides in Staten Island, New York.

       5. Upon information and belief, each of the Shorenstein entities is formed under the laws

of Delaware. Upon information and belief, Shorenstein owns and manages the property located at

1407 Broadway in New York, New York 10018 (the “Building”).

       6. Upon information and belief, Allied is a corporation formed under the laws of Delaware,

and has a principal place of business in Irvine, California. Upon information and belief, Allied

provides security services and staff for the Building.
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                                             FACTS
       7. Beginning in July 2022, Ms. Wasilewski worked as a janitorial staff member at the

Building, a 43-story building that houses retail stores and offices in Times Square.

       8. Shorenstein owns and manages the Building.

       9. Shorenstein contracted Allied to provide security services and staff for the Building.

       10. Ms. Wasilewski’s janitorial duties included cleaning the bathrooms in the Building.

       11. On April 2, 2024, Ms. Wasilewski was sexually assaulted by a man (the “Perpetrator”)

while she was on shift working in the Building, cleaning the women’s restroom on the fifth floor

of the Building (the “Bathroom”).

       12. Specifically, Ms. Wasilewski entered the Bathroom at 8:20 A.M. on April 2, 2024, and

began cleaning.

       13. While Ms. Wasilewski faced the wall in the Bathroom, the Perpetrator suddenly

grabbed her from behind and placed her in a chokehold.

       14. Ms. Wasilewski was shocked, terrified, and unable to move when she felt the

Perpetrator grab her.

       15. The Perpetrator ordered Ms. Wasilewski to remove her pants.

       16. Ms. Wasilewski feared for her life as the Perpetrator began sexually assaulting her.

       17. The Perpetrator then ripped Ms. Wasilewski’s blouse to take it off of her and further

assaulted her.

       18. The Perpetrator threatened Ms. Wasilewski that he would kill her if she spoke to

anyone about this incident.
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        19. As she was being assaulted, Ms. Wasilewski managed to reach for her radio and

screamed repeatedly for help.

        20. As Ms. Wasilewski screamed for help, the Perpetrator lost his grip, and Ms. Wasilewski

broke free.

        21. The Perpetrator fled after Ms. Wasilewski broke free from his grip.

        22. Ms. Wasilewski could not identify the Perpetrator because he wore a mask that covered

his face.

        23. Ms. Wasilewski collapsed on the floor after the Perpetrator fled.

        24. After she collapsed, Ms. Wasilewski’s coworker and an Allied security officer entered

the bathroom and helped usher Ms. Wasilewski to the security office in the Building.

        25. While in the security office, Ms. Wasilewski told the site manager and the Building’s

security manager––an Allied employee––about her sexual assault.

        26. Ms. Wasilewski sustained abrasions on her face, which she showed to the site manager

and the security manager.

        27. To Ms. Wasilewski’s surprise and extreme discomfort, her manager and the security

manager responded by offering her a shot of alcohol.

        28. The sexual assault, as well as the conduct of the site manager and the security manager,

left Ms. Wasilewski with physical injuries, severe emotional distress, and psychological injuries.

        29. The sexual assault left Ms. Wasilewski bedridden for several days, suffering from

serious ongoing physical pain in her shoulder, neck, and arm.
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       30. Since the attack, Ms. Wasilewski suffers from a panic disorder, depression, and

anxiety, which continues to the present day.

       31. Ms. Wasilewski often struggles to fall asleep because of those physical and

psychological injuries.

       32. Ms. Wasilewski has been unable to return work as a result of the severe emotional

distress and psychological injuries she suffered from the sexual assault.

       33. Ms. Wasilewski’s sexual assault was the result of poor security measures at the

Building.

       34. Six months before Ms. Wasilewski was sexually assaulted, a homeless individual

managed to enter the Building without authorization and spent a considerable amount of time on

a couch inside the Building.

       35. This security breach was reported to Shorenstein and Allied.

       36. Despite knowing about the prior security breach, Shorenstein and Allied failed to take

additional measures to ensure the safety of tenants and workers in the Building.

       37. Shorenstein and Allied acted with reckless and wanton indifference to the

consequences of the poor security in the Building, which were both measured and foreseen.

       38. When she was attacked, Ms. Wasilewski was legally present on the Building’s property

performing her work for Shorenstein.

       39. As a member of a specific, limited class of employees that Shorenstein contracted to

provide cleaning and other services throughout the Building, Ms. Wasilewski was an intended

beneficiary of Allied’s security services to Shorenstein.
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           40. Ms. Wasilewski relied on Allied’s security services to her detriment.

           41. Upon information and belief, the New York Police Department is still investigating the

identity of the Perpetrator.



                                               COUNT 1
                                              Negligence
                                        As against Shorenstein
           42. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

           43. Shorenstein owned and managed the Building at the time of Ms. Wasilewski’s sexual

assault.

           44. Ms. Wasilewski was performing her janitorial duties at the Building when she was

sexually assaulted. Ms. Wasilewski suffered considerable emotional and physical harm from the

assault.

           45. Shorenstein owed a duty to maintain a safe workplace.

           46. As the owner and property manager, Shorenstein owed a duty to ensure the safety of

individuals in the Building, including Ms. Wasilewski, who was contracted to perform cleaning

services.

           47. Shorenstein failed to take measures to secure the Building despite knowing of at least

one prior security breach.

           48. Ms. Wasilewski was sexually assaulted as a result of Shorenstein’s failure to take

proper measures to secure the Building.
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                                            COUNT 2
                                       Negligent Security
                                     As against Shorenstein
       49. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

       50. Shorenstein owned and managed the Building where Ms. Wasilewski worked.

       51. Shorenstein owed a duty to maintain the Building in safe conditions for tenants and

workers.

       52. Shorenstein failed to take proper measures to secure the Building despite knowing the

foreseeable risk of harm, given its knowledge of at least one prior security breach.

       53. Ms. Wasilewski was sexually assaulted because of Shorenstein’s failure to take proper

measures to ensure the safety of tenants and workers at the Building.

       54. Ms. Wasilewski has suffered damages as a result of that attack.



                                            COUNT 3
                         Negligent Hiring, Retention, and Supervision
                                     As against Shorenstein
       55. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

       56. Shorenstein contracted Allied to provide security services at the Building.

       57. Shorenstein knew or should have known about Allied’s failure to maintain the safety

of the Building because it was aware of at least one prior security breach when a homeless person

entered and spent time at the Building without authorization.

       58. As a result of Shorenstein failure to exercise reasonable care in supervising Allied, Ms.

Wasilewski was sexually assaulted at the Building.
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          59. Ms. Wasilewski has suffered damages as a result of that attack.



                                                COUNT 4
                             Negligent Infliction of Emotional Distress
                                  As against Shorenstein and Allied
          60. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

          61. Shorenstein owed a duty to Ms. Wasilewski to ensure the safety of the Building, and

those individuals within it, as the owner and manager of the Building.

          62. Allied owed a duty to ensure the safety of the Building, and those individuals within it,

as a result of its dealings with Shorenstein.

          63. Ms. Wasilewski was an intended beneficiary of Allied’s security services, given her

close relationship to Shorenstein as a worker contracted to perform services in the Building.

          64. Shorenstein and Allied breached their duties when they failed to ensure the safety of

tenants and workers at its Building, evidenced by the attack on Ms. Wasilewski.

          65. Ms. Wasilewski was sexually assaulted as a result of Shorenstein’s and Allied’s

breaches.

          66. The risk of an attack was foreseeable, given the previous security breach, among other

things.

          67. When Ms. Wasilewski told Shorenstein and Allied employees about the sexual assault

– immediately after it occurred – they responded by offering Ms. Wasilewski alcohol.

          68. Ms. Wasilewski suffered severe emotional stress and psychological injuries as a result

of her sexual assault, and Shorenstein and Allied employees.
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                                           COUNT 5
                         Negligent Hiring, Retention, and Supervision
                                        As against Allied
       69. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

       70. Allied was contracted to provide security services at the Building.

       71. Allied knew or should have known about its employees’ failure to maintain the safety

of the Building because it was aware of at least one prior security breach that occurred when a

homeless person entered and spent time at the Building without authorization, only months before

Ms. Wasilewski was sexually assaulted.

       72. As a result of Allied’s failure to exercise reasonable care in hiring, supervising, and

retention of its employees that provided security services at the Building, Ms. Wasilewski was

sexually assaulted in the Building.

       73. Ms. Wasilewski has suffered damages as a result of that attack.



                                           COUNT 6
                                           Negligence
                                        As against Allied
       74. Ms. Wasilewski repeats and realleges the paragraphs above as if stated below.

       75. Allied was contracted by Shorenstein to, and did, provide security services for the

Building at the time of Ms. Wasilewski’s sexual assault.

       76. Ms. Wasilewski was an intended beneficiary of Allied’s security services, given her

close relationship to Shorenstein as a worker contracted to perform services in the Building.
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          77. Allied owed a duty to maintain a safe environment within the Building, including a

duty to ensure the safety of the individuals contracted to perform work in the Building, such as

Ms. Wasilewski.

          78. The risk of an attack was foreseeable, given the previous security breach, among other

things.

          79. Allied breached its duties when it failed to ensure the safety of the Building, evidenced

by the attack perpetrated on Ms. Wasilewski.

          80. Ms. Wasilewski was sexually assaulted as a result of Allied’s breach.

          81. Ms. Wasilewski suffered severe emotional stress and psychological injuries as a result

of her sexual assault.



                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Agnieszka Wasilewski respectfully requests judgment against

Defendants, awarding compensatory, consequential, exemplary, general, and punitive damages in

an amount to be determined at trial; costs of suit; attorneys’ fees; and such other and further relief

as the Court may deem just and proper.



                                   REQUEST FOR JURY TRIAL

          Ms. Wasilewski respectfully requests a trial by jury on all issues so triable.



Dated:           April 16, 2025
                 New York, New York


                                                         Respectfully submitted,
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